Case 5

On -& Ww WN

Co Oo SN D

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

14-cv-01024-SVW-FFM Document 106 Filed 02/19/16 Page1iofi Page ID #:1412

FILED
CLERK, U.S. DISTRICT COURT

 

 

Feb 19, 2016

 

 

 

CENTRAL DISTRICT OF CALIFORNIA
BY: PMC DEPUTY

 

 

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
S.N. et al, Consolidated with:
Vs. CASE NO.: EDCV 14-01024 SVW
(RZx)
STANLEY SNIFF et al, CASE NO. EDCV 15-00931 SVW (KK)
Defendants ORDER DISMISSING CASE WITH

 

The parties previously entered into a settlement of both Negrete v. Sniff et al,
EDCV 14-01024 SVW (Rzx), and S.N. v. Sniff et al, EDCV 14-01024 SVW (Rzx).
On February 1, 2016 the court approved the portion of the settlement which

 

concerns the four minor plaintiffs.

The parties filed a stipulation to dismiss this action with prejudice.
Pursuant to the settlement approved by the court, each party will bear his/its
own costs and attorney’s fees.

This case is therefore dismissed with , re udice.

DATED: February 19, 2016 by, MALE, Len,

nte States District u ge ¥

 

 
